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FILED ___ RECEIVED
ENTERED SERVED ON
COUNSEL/PARTIES OF RECORD

RENE L. VALLADARES

Federal Public Defender

Nevada State Bar No. 11479

RATE BERRY OCT 29 2020

Assistant Federal Public Defender

Nevada State Bar No. 14346 CLERK US DISTRICT COURT

201 W. Liberty Street, Ste. 102 DISTRICT OF NEVADA

Reno, Nevada 89501 BY: DEPUTY

 

 

 

 

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Attorney for PAUL PRESLEY REED

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
UNITED STATES OF AMERICA, Case No. 3:19-cr-00001-RCJ-CLB
Plaintiff,
ORDER CONTINUING
v. REVOCATION HEARING
PAUL PRESLEY REED,
Defendant.

 

IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
VALLADARES, Federal Public Defender and KATE BERRY, Assistant Federal Public
Defender, counsel for PAUL PRESLEY REED and NICHOLAS A. TRUTANICH, United
States Attorney, and PETER WALKINGSHAW, Assistant United States Attorney, counsel for
the UNITED STATES OF AMERICA, that the Initial Appearance regarding Revocation of
Supervised Release hearing set for October 21, 2020, at 3:00 PM, be vacated and continued to
May 3, 2021, at 3:00 PM.

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This Stipulation is entered into for the following reasons:

1.

4.
5.
6.

This is a joint request by counsel for defendant PAUL PRESLEY REED and
counsel for the Government.

The state criminal charges pending against Mr. Reed, which form one of the
basis of the alleged violation of his supervised release conditions, have yet to
be adjudicated. Should the state case be adjudicated before the revocation date
in the instant case, the parties will notify the Court.

The additional time requested by this Stipulation is reasonable pursuant to
Federal Rule of Criminal Procedure 32.1(b)(2), which states that the “court
must hold the revocation hearing within a reasonable time.”

Mr. Reed is not detained.

The parties agree to the continuance.

This is the third request for a continuance.

DATED this 20" day of October, 2020.

 

 

RENE L. VALLADARES NICHOLAS A. TRUTANICH
Federal Public Defender United States Attorney

By /s/ Kate Berry By _/s/ Peter Walkingshaw
KATE BERRY PETER WALKINGSHAW
Assistant Federal Public Defender Assistant United States Attorney
Counsel for Counsel for the Government
PAUL PRESLEY REED

 
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ORDER
Based on the Stipulation of counsel, and good cause appearing,

IT IS THEREFORE ORDERED that the Initial Appearance regarding Revocation
Hearing currently set for October 21, 2020, at 3:00 PM, be vacated and continued to May 3,

2021, at 3:00 PM.

DATED this 20th day of October, 2020.

Qothe.

UNITED STATES MAGISTRATE JUDGE

 
